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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA
Plaintiff
vs                                          CRIMINAL 08-0281CCC

1) ISMAEL VAZQUEZ-LARRAURI
a/k/a Tara, a/k/a Junito, a/k/a El Gordo
2) VICTOR RODRIGUEZ-RIVERA
a/k/a Vitín
3) HIRAM TORRES-AVILES
a/k/a Bizcocho
4) ADALBERTO LEON-COLLAZO
a/k/a Berto
5) LUIS CARTAGENA-CARRASQUILLO
a/k/a Luis Moco
6) JULIO MORALES-VAZQUEZ
a/k/a Julio Quilla
7) JOSE RIOS-HERNANDEZ a/k/a El
Gordo de la Vega a/k/a Tati Ríos
8) JOSE O. VAZQUEZ-FIGUEROA
a/k/a Chopa
9) NELSON CARDONA-SANTIAGO
10) FELIPE LOPEZ-DE-LA-CRUZ
11) BRENDA RODRIGUEZ-MARQUEZ
a/k/a La Punky
12) JOSE RICARDO BURGOS-RESTO
a/k/a Ricky Burgos
13) JAIRO VELAZQUEZ-RIVERA
14) FERNANDO GONZALEZ-COLON a/k/a
Naldin
15) HECTOR DIAZ-NOGUERAS a/k/a
Chico
16) EDWIN SANTOS-MARTINEZ a/k/a
Chino, a/k/a Chinito
17) LUIS ROSARIO-RIVERA a/k/a Luis el
Negro
18) ROBERTO ORTIZ-RODRIGUEZ a/k/a
Robert el Viejo
19) ELIEZER BURGOS-TORRES a/k/a Eli
20) JOSE JIMENEZ-ROBLES a/k/a Joy
21) ANGEL IGARAVIDEZ-GONZALEZ
a/k/a Bebo
[COUNTS ONE THROUGH SEVEN]
22) LEONARDO RIVERA-VICENTE a/k/a
Naldi
[COUNTS ONE THROUGH FIVE AND
SEVEN]
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23) HECTOR L. VAZQUEZ-NIEVES a/k/a
Hectitor
24) VICTOR SUAREZ-LAGO a/k/a Pakay
25) ABRAHAM GARCIA-RIVERA a/k/a
Juni, a/k/a Juni Morrina
26) ALEXANDER ARROYO-GONZALEZ
a/k/a Alex Colchoneta
27) JOSE L. GONZALEZ-RIVERA a/k/a
Cano Diente
28) CARLOS O. RIVERA-RODRIGUEZ
a/k/a Carlos Omar
29) EFRAIN SANTIAGO-BURGOS a/k/a
Miyagui
30) NOELIA LOPEZ-ORTIZ
31) EUCLIDES DE JESUS-ROSA a/k/a
Clidu, a/k/a El Viejo de Coamo
32) MARLYN MARCANO-LOPEZ
33) ESTEBAN O. SERATE-SANTIAGO
a/k/a Omi el Negro
34) JASON JAUME-SUAREZ a/k/a Jason
35) JAVIER CASTRO-SUAREZ a/k/a Javi
36) OMAR RODRIGUEZ-ARROYO a/k/a
Omi Planicie
37) ALEX M. TRINIDAD a/k/a Alex
38) CARLOS A. RIVERA-MALAVE a/k/a La
Ponca
39) JUAN C. SANTEL-MELENDEZ a/k/a
Melaza
40) RAYMOND RIVERA-RIVERA
41) CHRISTIAN ORTIZ-MELENDEZ
42) SERGIO RODRIGUEZ-MENDOZA

43) CARLOS SUAREZ-VEGA a/k/a Bribón
44) MIGUEL VELEZ-BONILLA a/k/a Cano,
Cachete
45) JOSE R. ORTIZ-RIVERA a/k/a Pito
46) JOSE LUIS LOPEZ-MENDEZ a/k/a
Ñoño, a/k/a Kiko
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47) ENRIQUE RODRIGUEZ-MARQUEZ
48) CARLOS ROSARIO-ROSARIO a/k/a
Pinto
49) ALEX ORTIZ-CARABALLO a/k/a
Bocudo, a/k/a Mocudo, a/k/a Flaco
50) GERARDO MARCANO-RIVERA a/k/a
Bebe
51) ISMAEL OCASIO-LAGO a/k/a
Ismaelito, a/k/a Esquimalito
52) WILLIAM VAZQUEZ-RIVERA
a/k/a Cabito
53) ANGELICA DELGADO-VALDEZ a/k/a
Angie
54) NELSON MARTINEZ-ROMAN
55) HUMBERTO CARABALLO-RESTO
a/k/a Papo XXX
56) RAMON FALCON-SANTOS a/k/a Bebe
57) OBED JIMENEZ-ROBLES
58) ANGEL R. LAGO-CAMACHO a/k/a Rafi
59) JOVANNY SIERRA-ORTIZ
60) ZANDY TORRES-MENDEZ
61) ALEXIS LOPEZ-PEREZ a/k/a Pamela
62) JOSE BARRETO-LUGO
63) JOSE A. ORTIZ-RIOS a/k/a Papo Lover
64) BENJAMIN CLAUDIO-COTTO a/k/a
Puchi
65) OSVALDO IRIZARRY-RIVERA a/k/a El
Gringo
66) ERIC A. RODRIGUEZ-MARTINEZ a/k/a
Testin
67) DIGNA VIOLETA-LARRAURI
68) VANESSA RIVERA-MELENDEZ a/k/a
Vanessa Black Angus
69) NELIDA ORTIZ
70) RICARDO ORTIZ-RIVERA a/k/a Deo
71) YARITZA MELENDEZ-FUENTES
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 [COUNTS ONE THROUGH FIVE AND
 SEVEN]
 Defendants
                                       ORDER
        Having considered the Report and Recommendation filed on March 31, 2011
(docket entry 2292) on a Rule 11 proceeding of co-defendant William Vázquez-Rivera
(52) held before U.S. Magistrate Judge Bruce J. McGiverin on March 31, 2011, to which no
opposition has been filed, the same is APPROVED. Accordingly, the plea of guilty of co-
defendant William Vázquez-Rivera is accepted.        The Court FINDS that his plea was
voluntary and intelligently entered with awareness of his rights and the consequences of
pleading guilty and contains all elements of the offense charged in the indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since March 31, 2011. The sentencing hearing is RESET for
June 29, 2011 at 4:30 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on April 11, 2011.



                                                 S/CARMEN CONSUELO CEREZO
                                                 United States District Judge
